                                           UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF OREGON
In re                                        )
                                             )   Case No.    17-62181-tmr13
Debra Ann Kwake                              )     (NOTE: If blank, Case No. will be on the Meeting of Creditors Notice)
                                             )
                                             )   CHAPTER 13 PLAN DATED     08/03/17 ; AND
                                             )   9 MOTION TO VALUE COLLATERAL (See Paragraph 2(b)(1) and (2) below);
                                             )   9 MOTION TO AVOID LIENS (See Paragraph 6 below)
                                             )   9 THIS PLAN SETS OUT NONSTANDARD PROVISIONS BEGINNING WITH
Debtor(s)                                    )      PARAGRAPH 10


NOTICE TO INTERESTED PARTIES: Your rights may be affected. Your claim may be modified or eliminated. You
should read these papers carefully and discuss them with your attorney. If you do not have one, you may wish to
consult one.

If you oppose the Plan treatment of your claim or any provision of this Plan, you must file an objection to confirmation (or one
must be filed on your behalf) within fourteen days after the conclusion of the meeting of creditors, unless otherwise ordered
by the Bankruptcy Court or provided in a notice of amendment. See Local Bankruptcy Rule 3015-3(c). Failure of a creditor
to file a written objection to the plan shall constitute acceptance of the plan and the Bankruptcy Court may confirm
the plan without further notice. If there are any additional plan provisions or provisions that alter the language of paragraphs
1-9, they shall be outlined in paragraphs 10+ below.

1. The debtor shall pay to the trustee:

    (a) a monthly payment of $ 1,000.00                                                                                                ;

    (b) all proceeds from avoided transfers, including proceeds from transfers avoided by the trustee;

    (c) upon receipt by the debtor, all tax refunds attributable to prepetition tax years and, upon receipt by the debtor, net tax
    refunds (i.e., tax refunds not otherwise provided for in the plan, less tax paid by debtor for a deficiency shown on any tax
    return for that same tax year or tax paid by setoff by a tax agency for a postpetition tax year) attributable to postpetition tax
    years during the: G 36 months or G 60 months from the date the first plan payment is due (note: refunds for the first three
    years of the plan are due in cases with 36 month commitment periods; refunds for all five years are due in cases with 60
    month commitment periods);

    (d) a lump sum payment of $                        15,000                        on or before       07/31/18         (date); and

    (e) $15,000 lump sum by 7/31/19 and a $15,000 lump sum by 7/31/20                                                              .

    Debtor acknowledges that if the debtor is ever more than 30 days delinquent on any payment due under section 1(a) of
    this plan, upon motion of the trustee granted by the court after appropriate notice, a wage deduction order to debtor's
    employer may be issued immediately.
2. The trustee shall disburse all funds received pursuant to paragraph 1 as follows:

    (a) First, to the trustee's percentage fee and expenses.

    (b) Second, to secured creditors as provided in (1) and (2) below. Should the trustee not have sufficient funds in trust to
        pay fully the disbursements listed below, disbursements of funds available shall be made pro rata. The terms of the
        debtor’s prepetition agreement with each secured creditor shall continue to apply, except as otherwise provided in this
        plan or in the order confirming plan. Secured creditors shall retain their liens until payment of the underlying debt,
        determined under nonbankruptcy law, or discharge under §1328(a), at which time the lien shall terminate and be
        released by the creditor.

        (1) Cure of Default and Claim Modification. The debtor will cure the default and maintain the contractual installment
            payments (as provided in paragraph 4) on the secured claims listed below in the “Estimated Arrearage if Curing”
            column. The amount listed in this column is an estimate; the creditor’s timely filed and allowed claim shall control.
            Claims provided for in the “Collateral Value if Not Paying in Full” column are allowed secured claims only to the
            extent of the value indicated, and pursuant to §506(a), the debtor MOVES the court for an order fixing the value
            of the collateral in the amount stated below. Unless a creditor timely objects to confirmation, the value of the
            creditor’s interest in the collateral shall be limited to the amount listed below, and that amount will be paid under
            the plan with interest at the rate stated below.
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               For claims provided for in the "Estimated Secured Claim if Paying Secured Claim in Full" column, the creditor will
               receive the amount of the claim that is secured as set forth on the creditor's timely proof of claim, except as follows:
               If the claim is a "910 claim" not subject to 11 U.S.C. §506 pursuant to the hanging paragraph of 11 U.S.C.
               §1325(a)(9), the creditor will receive the total amount of the claim set forth on the creditor's timely proof of claim,
               even if that amount exceeds the secured portion of the claim.

               For all creditors provided for under this subparagraph, if the creditor’s claim will not be paid in full, the portion of
               the creditor’s claim that exceeds the amount of the allowed secured claim shall be treated as an unsecured claim
               under paragraph 2(e) (if the claim identifies the priority position of the claim) and 2(f) below.

               Instruction to debtor(s): Use only one of the following columns for each creditor: “Estimated Arrearage if Curing,”
               or “Collateral Value if Not Paying in Full,” or “Estimated Secured Claim if Paying Secured Claim in Full.” All other
               columns must be completed.

                                                                                         Estimated Secured
                                                        Estimated          Collateral      Claim if Paying        Post-          Monthly
                                                        Arrearag e   OR   Value if Not OR Secured             confirmation        Plan
           Creditor                  Collateral          if Curing        Paying in Full    Claim in Full     Interest Rate      Payment
Bank of America               25764 Hall Road                                              $180,000                5.125%       $750.00*




* Minimum monthly payment, plus all available funds after payment of attorney fees. In addition, creditor shall receive all
available funds from the periodic payments made pursuant to Sections 1(d) and (e), after payment of attorney fees. Note:
claim is disputed. Listing of estimated secured claim shall not be deemed an agreement as to the amount of creditor's claim.


           (2) Secured Claim Modification Not Expressly Authorized by the Code. This subparagraph may include, but
               is not limited to, modification of a claim secured by a purchase money security interest in either (1) a motor
               vehicle acquired for personal use by the debtor within 910 days before the bankruptcy filing date, or (2) any
               other personal property collateral acquired within one year before the bankruptcy filing. Secured claims
               provided for in this subparagraph shall be limited to the amount indicated in the “Amount of Claim as Modified
               (Value of Collateral)” column. The debtor MOVES the court for an order fixing the value of the collateral in the
               amount stated below.
               DEBTOR PROPOSES THAT THE CREDITOR(S) SPECIFICALLY IDENTIFIED BELOW ACCEPT, EITHER
               EXPRESSLY OR IMPLIEDLY, THE FOLLOWING TREATMENT WHICH THE COURT MIGHT NOT BE
               ABLE TO APPROVE ABSENT CONSENT OF CREDITOR(S). FAILURE OF A CREDITOR TO FILE A
               WRITTEN OBJECTION TO THIS PLAN PRIOR TO CONFIRMATION SHALL CONSTITUTE ACCEPTANCE
               OF THE PLAN.

                                                              Amount of Claim as               Post-confirmation            Monthly Plan
Creditor                     Collateral                   Modified (Value of Collateral)         Interest Rate               Payment




           (3) Adequate protection payments shall be disbursed by the trustee pre-confirmation from funds on hand with the
               trustee in the payment amounts specified in the plan for personal property secured creditors, absent a
               provision in this plan or a court order providing for a different amount to be paid pre-confirmation. If the debtor
               fails to make a monthly payment sufficient to pay the adequate protection payments in full, the trustee will
               disburse the funds pro rata according to the monthly payments proposed for those creditors. Adequate
               protection payments paid through the trustee pre-confirmation will be deducted from the amount of the allowed
               claim. Unless the concerned creditor is fully secured or oversecured for purposes of §506 or §1325(a)(9), no
               interest shall be paid from the date of the filing of the petition to the date of confirmation unless otherwise
               specifically provided for in the payment provisions set forth above.

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        (4) Attorney Compensation: Original attorney fees and expenses are $____________,
                                                                                $5,310.00       of which $ ___________
                                                                                                            2,000.00
            remains unpaid. If debtor has agreed to an estimated rather than a fixed fee, upon application, the court in its
            sole discretion may award not more than $500 in addition to the above amount without further notice. Attorney
            fees are to be paid either:         G From all available funds after paragraph 2(b) payments are made; or
             G Other
                                                                                                                                 .

        (5) The debtor shall surrender any collateral not otherwise addressed by the terms of this plan no later than upon
            confirmation of this plan to the following (i.e., state creditor NAME followed by DESCRIPTION of collateral to
            be surrendered. If the debtor does not have possession of the collateral, this should be indicated below):




   (c) Third, pro rata until fully paid, allowed unsecured domestic support obligations under §507(a)(1).
   (d) Fourth, allowed administrative expenses under §507(a)(2).

   (e) Fifth, pro rata, until fully paid, to allowed priority claims in the order stated in §507(a)(3)-(10), including §1305
       claims.

   (f) Sixth, pro rata, to timely filed and allowed nonpriority unsecured claims, the amounts required by §1325(b)(1).
       These monies will be distributed in the method indicated in the section marked below [MARK ONLY ONE].

            (1) The creditors will receive approximately 100.00 % of their claims. Payment of any dividend will depend
                upon the amount of allowed secured claims, the amount of allowed priority claims (including costs of
                administration and the debtor’s attorney’s fees), and the total amount of allowed, nonpriority unsecured
                claims.
            (2) The creditors will receive a minimum             % of their claims. This percentage will not be reduced
                regardless of the amount of total creditors' claims filed.

   (g) Pursuant to §1325(a)(4), the "best interest of creditors" number is determined to be $ 488,574.10              , and not
       less than that amount shall be distributed to unsecured priority and, pro rata, non-priority creditors with timely filed
       and allowed claims. The total amount of allowed priority claims will reduce the amount distributed to unsecured,
       non-priority creditors.

   (h) Pursuant to §1325(a)(4), all allowed unsecured claims shall receive interest of        1.22   % from the time of
       confirmation.

3. The debtor ASSUMES the following executory contracts and leases:
     Creditor                           Amount of Default [State if None]                      Cure Provisions




     Those executory contracts or leases not specifically mentioned above are treated as rejected. Any timely filed and
     allowed claim arising from rejection shall be treated under paragraph 2(f). The debtor will pay all assumed executory
     contracts and leases directly, including amounts required to cure. The debtor shall surrender any property covered by
     rejected executory contracts or leases to the affected creditor no later than upon confirmation of this plan.

 4. The debtor shall pay directly to each of the following creditors, whose debts are either fully secured or are secured only
    by a security interest in real property that is the debtor's principal residence, the regular payment due post-petition on
    these claims in accordance with the terms of their respective contracts, list any pre-petition arrearages in paragraph
    2(b)(1) and/or specify any other treatment of such secured creditor(s) in an additional paragraph at the end of this plan:



 5. Subject to the provisions of §502, untimely claims are disallowed, without the need for formal objection, unless allowed
    by court order.
 6. The debtor MOVES, pursuant to §522(f)(1), to avoid the judicial liens and/or non-purchase money security interests of
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     the following creditors because they impair an exemption(s) of the debtor:




     Absent objection from a creditor, the order of confirmation will avoid its lien and its claim will be treated in paragraph
     2(f).

 7. The applicable commitment period of this plan is G36 or G60 months. Debtor(s) shall make plan payments for the
    length of the commitment period unless the debtor(s) first pay 100% of all allowed claims with appropriate interest. If
    the commitment period is 36 months, the plan payments may continue for a longer period, not to exceed 60 months,
    as necessary to complete required payments to creditors. The approximate length of the plan is 48 months; cause
    to extend longer than 36 months is as follows: To pay creditors in full and meet best interests test


 8. This plan may be altered post-confirmation in a non-material manner by court order after notice to the debtor, the
    trustee, any creditor whose claim is the subject of the modification and any interested party who has requested special
    notice.

 9. Debtor Certification. Debtor(s) certifies that the petition was filed in good faith, and this plan was proposed in good
    faith and not by any means forbidden by law. Debtor(s) further certifies that all postpetition domestic support
    obligations have been paid in full on the date of this plan and will be paid in full at the time of the confirmation hearing.

ADDITIONAL NONSTANDARD PROVISIONS (separately number below or on attachment(s), beginning with 10):
10. The payments proposed in paragraph 1(d) and (e) shall be made by the debtor's husband from his income from his
construction business.
11. The debtor shall obtain sufficient funds from a refinance of her home in order to pay all allowed claims in full by 7/31/21.



                    /s/ Debra Ann Kwake
                     DEBTOR                                                                     DEBTOR

CERTIFICATE OF SERVICE on Creditors/Parties Treated in Paragraphs 2(b)(1) (under the “Collateral Value if Not
Paying in Full” column), 2(b)(2) (under the “Amount of Claim as Modified” column), 3, and 6 (see FRBP 3012, 4003(d), and
9014, and LBR 6006-1(b)). I certify that copies of this plan and the notice of hearing to confirm this plan were served as
follows:

a) For creditors/parties who are not Insured Depository Institutions (served by court) (see FRBP 7004(b)), I either listed the
creditors/parties in the mailing list filed with the court exactly as follows, OR, on (insert date)          , I served the
above-documents by first-class mail to the creditors/parties at the names and addresses exactly as follows (list each
creditor/party, the person or entity the creditor/party was served through, and the address):




b) For Insured Depository Institutions (see FRBP 7004(h)), on (insert date)              , I served the above-documents by
certified mail, or by other authorized means (specify), at the name and address exactly as follows (list each insured
depository institution, the person or entity the institution was served through, and the address):




                                                                                      /s/ Loren S. Scott, OSB #024502
                                                                                         DEBTOR OR DEBTOR’S ATTORNEY




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